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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA


    IN RE: ZANTAC (RANITIDINE)                                                     MDL NO. 2924
    PRODUCTS LIABILITY                                                              20-MD-2924
    LITIGATION
                                                        JUDGE ROBIN L. ROSENBERG
                                               MAGISTRATE JUDGE BRUCE E. REINHART

    _______________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                    PRETRIAL ORDER #38
                              First Census Implementation Order:
                           Deadlines and Census Plus Form Deficiencies

           In PTO # 15, this Court ordered all plaintiffs asserting personal injury or medical

   monitoring claims to complete a Census Plus Form (CPF). The same PTO also created a Registry,

   designed to permit individuals who may have potential claims related to the subject matter of this

   MDL to submit their potential claims to the Registry for further investigation. PTO # 15

   contemplated that the Court would issue future Orders regarding implementation of the census

   process and the Registry, and this is the first such Order. This Order sets forth procedures for

   addressing delinquencies or deficiencies in CPFs from Filed Plaintiffs and other issues.

   Subsequent Census Implementation Orders will address additional information to be provided by

   all defendants to facilitate resulting product identification, the protocol for delinquencies and

   deficiency processing for Registry Claimants, access to Registry information, and implementation

   of the product identification process, among other issues.

      I.      Filed Plaintiffs

           PTO # 23 required that any Filed Plaintiff whose case was filed on or before May 31, 2020

   submit a CPF no later than July 21, 2020. PTO # 15 prescribes the potential remedies for non-



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   compliance with these requirements, reading, in pertinent part, “Any Plaintiff in a filed case who

   does not timely cure an important deficiency, absent good cause shown, may be subject to

   sanctions, up to and including dismissal of the case.” As contemplated by PTO # 15, page 9,

   paragraph 5, the Court now provides a process for resolving delinquencies or deficiencies in CPFs

   from Filed Plaintiffs.

          Delinquencies. Filed Plaintiffs who fail to submit any CPF at all by the deadlines set forth

   in PTO # 23 shall be given notice by email to their counsel from LMI, and shall have fourteen (14)

   days from such notice to submit a complete and verified CPF. For CPFs that were due by July 21,

   2020, the Court understands such notices already have been provided.1

          Deficiencies. Filed Plaintiffs who fail to provide a complete and verified CPF by the

   deadlines set forth in PTO # 23, or by the deadline set forth in paragraph 1 above, shall be given

   notice by email to their counsel (or if pro se, to the Plaintiff by email or regular mail) from LMI,

   and shall have twenty-eight (28) days to cure any important deficiency.

          If a Filed Plaintiff does not timely cure a delinquency or important deficiency (as set forth

   in the preceding two paragraphs), Plaintiffs’ counsel shall meet and confer with Defendants’ Co-

   Lead Counsel or Defense Liaison Counsel within three (3) days about why there was a failure to

   cure. If Defendants’ Co-Lead Counsel or Defense Liaison Counsel do not believe good cause has

   been shown for the delinquency or important deficiency through the meet and confer process, they

   may move the Court for an Order seeking sanctions, up to and including dismissal of such

   Plaintiff’s Complaint. Such motion shall not exceed three (3) pages. Plaintiff shall have fourteen

   (14) days from the date of Defendants’ motion to file a response either (1) certifying that Plaintiff


   1
    For pro se plaintiffs, the notice shall be sent by LMI to the Plaintiff via email or regular mail,
   and the Plaintiff shall have twenty-eight (28) days from such notice to submit a complete and
   verified CPF.

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   has submitted to LMI a completed and verified CPF, and including his/her LMI Plaintiff

   Identification Number in such response, or (2) opposing Defendants’ motion. Such response shall

   not exceed three (3) pages. If the Plaintiff files a response certifying the completed and verified

   CPF has been submitted to LMI, Defendant’s Co-Lead Counsel or Defense Liaison counsel shall

   review for completion and withdraw their motion if in fact Plaintiff has complied. If the Plaintiff

   does not file a response to the motion, absent good cause shown, his or her Complaint is subject

   to sanction, up to and including dismissal. If the Plaintiff files an opposition to the motion, the

   moving party may file a reply brief of no more than two (2) pages, within four (4) days. Thereupon,

   the Court will decide the motion.2

             Since the entry of PTO # 15, Lead Counsel have reached agreement on a discovery process

   for named plaintiffs in the Consolidated Consumer Class Action Complaint filed on June 22, 2020

   who allege medical monitoring claims. In order to avoid duplicative production of information by

   those named plaintiffs, this discovery will be provided in lieu of the CPFs for these named

   plaintiffs. At a future date, the parties will provide CPFs for these plaintiffs to LMI in order to

   ensure that the data analytics run on the LMI data are as accurate as possible.

       II.      Registry Claimants

             PTO # 23 required any Claimant who retained counsel on or before June 30, 2020 (but has

   not filed a lawsuit in any court on the subject matter of this MDL) and who sought to participate

   in the Registry to file a CPF by August 17, 2020. The Court understands from Plaintiffs’ Lead

   Counsel that a significant number of CPFs have been submitted and that the Registry vendor, LMI,

   is beginning its review of these CPFs.


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     Nothing herein limits or restricts the right of any Filed Plaintiff to voluntarily dismiss his/her
   case without prejudice, and without leave of Court, at any time in this process prior to the Court
   entering an Order of Dismissal.

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          However, the Court understands that some law firms contracted with another vendor

   (Cerner) to assist in the submission of CPFs on behalf of their clients. The Court has been further

   advised that prior to August 1, 2020 a technology error occurred impacting the data collected by

   Cerner prior to its transfer to LMI—through no fault of the Claimants or their counsel—which

   resulted in the loss of substantial data provided to Cerner and which requires re-creating the

   impacted data in a significant number of CPFs. As a result, the Court understands these CPFs may

   not be able to be submitted to the Registry by August 17. With the consent of Lead Counsel, the

   Court extends the deadline for the submission of the CPFs for 14 days, until August 31, 2020 –

   but only for those would-be Claimants whose data was provided by their counsel to Cerner on or

   before August 7, 2020. This extension therefore does not apply to Claimants who are filing their

   CPFs directly with LMI (and thus were not impacted by the Cerner issue), nor to any Claimant

   whose information was provided to Cerner after August 7, 2020.

          The Special Master is authorized to extend any deadline related to the CPFs for Registry

   Claimants and/or the Registry in her sole discretion, for good cause shown.



          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 16th day of

   August, 2020.




                                                ROBIN L. ROSENBERG
                                                UNITED STATES DISTRICT JUDGE




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